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                   UNITED STATES DISTRICT COURT
                              FOR THE
                        DISTRICT OF VERMONT

United States of America,        :
                                 :
                                 :
    v.                           :       Case No. 2:12-CR-12-04
                                 :
Melvin Hill,                     :
                                 :
          Defendant.             :

                         OPINION AND ORDER
                    (Docs. 222, 225, 233, 249)

    Melvin Hill, proceeding pro se, moves pursuant to

Federal Rule of Criminal Procedure 41(g) for the return of

property seized by federal agents during two criminal

arrests, namely: $2,200.00 in cash seized on February 13,

2012 (Docs. 222 and 233) and “approximately” $1,100.00 in

cash seized on May 7, 2012 (Doc. 225.)            In the alternative,

Hill moves pursuant to 18 U.S.C. § 983(e) to set aside a

declaration of forfeiture regarding the currency seized in

February 2012 (Doc. 249.)        Hill’s criminal case has resolved

to judgment, and therefore, the Court construes Hill’s

motions as civil actions in equity.           See Diaz v. United

States, 517 F.3d 608, 610 (2d Cir. 2008) (“A Rule 41(g)

motion that is brought after the criminal proceeding is over

is treated as a civil equitable action”). For the reasons



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set forth below, Hill’s motion for the return of seized

property ($2200) (Doc. 222 and 233) is DENIED, and the

motion for the return of seized property ($1100)(Doc. 225)

is GRANTED in part and DENIED in part.               The Court declines

to rule on the motion to set aside a declaration of

forfeiture (Doc. 249) at this time.

                             Factual Background

    On February 13, 2012, Detective Daniel Merchand of the

Burlington Police Department executed a search warrant of

Room 229 at the Anchorage Inn in Burlington, Vermont with

the assistance of federal law enforcement officers (Doc. 222

at 1).     Hill alleges that law enforcement found him inside,

searched his person, and illegally seized approximately

$2,200.     Id. at 1-2.       Law enforcement expressed their

interest in engaging Hill as a confidential informant,

returned $200.00 of the seized currency to allow Hill to pay

for the hotel room, and released him without immediately

filing charges (Doc. 222 at 2, Doc. 247 at 2, and Doc. 249

at 1.)

    Through Forfeiture Counsel, Vicki L. Rashid, the

Government alleges that on March 12, 2012, the Drug

Enforcement Administration (DEA) sent written notice of the



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February 2012 seizure by certified mail to each of three

separate addresses: (1) Room 229 of the Anchorage Inn in

South Burlington, the room where Hill was arrested; (2) an

address in Tignall, Georgia; and (3) an address in Newport

News, Virginia (Doc. 247-1 at 3.)           The notices sent to the

Anchorage Inn and to the Virginia address were returned to

DEA undelivered.     Id.

    On March 14, 2012, DEA received a return receipt

indicating that an individual signed to accept delivery of

the notice sent to the Georgia address.              Id.    DEA then

published notice of the seizure in the Wall Street Journal

one day per week for three successive weeks: March 26, April

2, and April 9, 2012. Id. at 4.           Hill alleges he did not

receive any written notice of the seizure, and that his

father, Melvin Hill, Sr., was the individual who signed for

the notice sent to the Georgia address (Doc. 249 at 2.)

    On April 19, 2012, this Court issued an arrest warrant

for Hill (Doc. 19.)        On May 7, 2012, law enforcement

arrested Hill at the Quality Inn in South Burlington,

Vermont and seized “approximately eleven hundred in cash”

found on his person (Doc. 225 at 1 and Doc. 247 at 2.)                    Hill

was detained pending trial (Doc. 46.)             After pleading guilty

to one count of conspiracy to distribute cocaine base (21

                                     3
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U.S.C. §§ 846, 841(a)(1), 841(b)(1)(B)), he was sentenced to

seventy months in prison (Doc. 166.)

                                   Discussion

I.   February 2012 Seizure

     On August 6, 2013, Hill moved pursuant to Rule 41(g)

for the return of the currency seized during the February

2012 arrest (“February 2012 seizure”)(Doc. 222.)1                     Hill

alleges that the currency was illegally seized, and he did

not receive notice of the seizure with sufficient time to

challenge forfeiture.            Id. at 2.      Hill requests the return

of $2,200.00, plus interest, and demands a total sum of

$2,400.     Id at 5.         However, Hill concedes in response to the

Government’s opposition that law enforcement returned

$200.00 at the time of his arrest (Doc. 249.)                    Therefore,

the Court finds that the amount of currency in question for

purposes of Hill’s motions regarding the February 2012

seizure is $2,000.00.

     In opposition, the Government argues DEA properly

effected an administrative forfeiture of the seized currency


     1
      On December 3, 2013, Hill filed a second motion
regarding the February 2012 seizure (Doc. 233) that appears
to be a complete copy of the initial motion regarding the
February 2012 seizure (Doc. 222) with some minor handwritten
changes. The Court construes these two motions as one-and-
the-same.

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in accordance with 18 U.S.C. § 983 and 19 U.S.C. § 1607, and

Hill’s claim is barred by the doctrine of sovereign immunity

(Doc. 247 at 3-5.)            On January 21, 2014, in conjunction with

his response to the Government’s opposition, Hill moved to

set aside the civil forfeiture of the February 2012 seizure

pursuant to 18 U.S.C. § 983(e). (Doc. 249.)

      a.      Sovereign Immunity

      The Government argues that Hill’s claims regarding the

February 2012 seizure are barred by sovereign immunity.

After DEA noticed the seizure and Hill failed to file a

claim within the statutory period,2 DEA issued a declaration

of forfeiture on May 29, 2012 and re-distributed the funds

(Doc. 247-1, Exhibits 2 and 8.)               The Government argues that

because DEA no longer physically possesses the currency, the

doctrine of sovereign immunity bars any claim that would, in

effect, seek compensation from the Treasury (Doc. 247 at 3-

5.)

      The doctrine of sovereign immunity provides “that the

United States may be sued without its consent and that the



      2
      “Any person claiming property seized in a nonjudicial civil
forfeiture proceeding under a civil forfeiture statute may file a
claim with the appropriate official after the seizure...(B)...not
later than 30 days after the date of final publication of notice
of seizure.” 18 U.S.C. § 983 (a)(2).

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existence of consent is a prerequisite for jurisdiction.”

United States v. Mitchell, 463 U.S. 206, 212 (1983).

“[W]aivers of sovereign immunity must be ‘unequivocally

expressed’ in statutory text, and cannot simply be implied.”

Adeleke v. United States, 355 F.3d 144, 150 (2d Cir. 2004)

(quoting United States v. Nordic Village, Inc., 503 U.S. 30,

33 (1992)).     “A suit for payment of funds from the Treasury

is quite different from a suit for the return of tangible

property.” Id. (internal quotation marks and citations

omitted).     Therefore, “consent to be sued for the latter

form of relief does not imply its consent to be sued for the

former. . . .” Id.        Hill seeks relief on two separate

grounds, and therefore, the Court will address the

applicability of the Government’s sovereign immunity

argument with respect to each.

    b.      Rule 41(g)Motion for Return of Seized Property

    Hill brings his first motion pursuant to Rule 41(g)

(Docs. 222 and 233.)        Rule 41(g) provides that “[a] person

aggrieved by... the deprivation of property may move for the

property’s return” by filing a motion “in the district where

the property was seized.” Fed. R. Crim. P. 41(g).                  This

Court retains subject matter jurisdiction to hear Rule 41(g)

motions once a civil or administrative forfeiture proceeding

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is complete regardless of whether a motion is filed after

the criminal proceedings.           Diaz v. United States, 517 F.3d

608, 611 (2d Cir. 2008) (citations omitted); see also United

States v. McGlory, 202 F.3d 664, 670 (3d Cir. 2000) (en

banc)(district court retains jurisdiction, “notwithstanding

that the claim was styled as a Rule 41(g) motion and filed

after criminal proceedings had been completed.”)

    However, when “for whatever reason” the property sought

is no longer physically available, the doctrine of sovereign

immunity bars “actions for money damages relating to such

property.” Adeleke v. United States, 355 F.3d 144, 151 (2d

Cir. 2004). As such, the Second Circuit has held that claims

for seized currency pursuant to Rule 41(g) are barred where

the Government has already disbursed the funds. See Diaz,

517 F.3d at 612 (“if the property is no longer available,

sovereign immunity bars the claimant from seeking

compensation”).3        Therefore, because DEA has already


     3
      In Diaz, the Second Circuit does suggest that a pro se
claim brought pursuant to Rule 41(g) would not be barred by the
doctrine of sovereign immunity if construed as a Federal Tort
Claims Act (FTCA) claim “for injury or loss of goods or property
in law enforcement custody” under 28 U.S.C. § 2680(c)(1)-(4). See
Diaz, 517 F.3d at 613. However, Hill’s claim cannot satisfy the
first statutory element of an FTCA claim, that “the property was
seized for the purpose of forfeiture. . . .” 28 U.S.C. §
2680(c)(1); see also Akeem v. United States, 854 F. Supp. 2d 289,
296 (E.D.N.Y. 2012) (Rule 41(g)claim regarding property seized

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declared forfeiture and disbursed the $2,000.00 seized in

February 2012, Hill is barred from seeking what would amount

to compensation for the seized funds pursuant to Rule 41(g).

Hill’s Rule 41(g) motion for return of seized property

($2200) regarding the February 2012 seizure (Docs. 222 and

233) is DENIED.

     c.   Motion to Set Aside Declaration of Civil
          Forfeiture Pursuant to 18 U.S.C. § 983 (e)


     Hill’s second motion alleges that he did not receive

notice of the February 2012 seizure, and therefore, he is

entitled to have the DEA’s declaration of forfeiture set

aside pursuant to 18 U.S.C. § 983(e). The Government argues

that DEA properly seized the $2000.00 pursuant to 21 U.S.C.

§ 881, that it observed the statutory administrative

forfeiture requirements, and that Hill cannot show defective

notice (Doc. 247 at 5-6.)        Hill’s claim implicates both

statutory rights (18 U.S.C. § 983 and 19 U.S.C. §§ 1607 and

1609) as well as his constitutional rights under the Due

Process clause of the Fifth Amendment. See Akeem, 854 F.

Supp. 2d at 297.



incident to arrest cannot establish FTCA claim where no evidence
to suggest property was taken for purpose of forfeiture).
Therefore, Hill’s claim would also fail if read as an FTCA claim.

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     DEA alleges that it seized Hill’s currency pursuant to

21 U.S.C. § 881.4        The Civil Asset Forfeiture Reform Act of

2000 (“CAFRA”), Pub. L. No. 106-185, 114 Stat. 202, codified

in part at 18 U.S.C. § 983, governs judicial and nonjudicial

forfeiture actions initiated after August 23, 2000. See 18

U.S.C. § 983 (rules governing forfeiture proceedings); Pub.

L. No. 106-185, 114 Stat 202, § 21, 8 U.S.C. § 1324

(effective date). See also 18 U.S.C. 983(I) (defining “civil

forfeiture statute”).

     For property worth less than $500,000 DEA concurrently

utilizes the administrative forfeiture provisions set forth

at 19 U.S.C. § 1607(a).          To commence an administrative

forfeiture, the agency seeking forfeiture must comply with

the notice requirements set forth at 18 U.S.C. § 983 and 19

U.S.C. §§ 1607 and 1609.          See also 21 U.S.C. §

881(d)(authorizing use of forfeiture provisions relating to

violation of customs laws “insofar as applicable and not

inconsistent” with Title 21).

     First, “the Government is required to send written


     4
       21 U.S.C. § 881(a)(6) provides that “[a]ll
moneys...furnished or intended to be furnished by any person in
exchange for a controlled substance...all proceeds traceable to
such an exchange, and all moneys...used or intended to be used to
facilitate any violation of the [Drug Abuse Prevention Act]” are
subject to forfeiture to the United States.

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notice to interested parties, such notice to be sent in a

manner to achieve proper notice as soon as practicable, and

in no case more than 60 days after the date of the seizure.”

18 U.S.C. § 983(a)(1)(A)(I); see also 19 U.S.C. § 1607(a)

(“Written notice of seizure together with information on the

applicable procedures shall be sent to each party who

appears to have an interest in the seized article”).

    Next, the agency seeking forfeiture “shall cause a

notice of the seizure of such articles and the intention to

forfeit and sell or otherwise dispose of the same. . .to be

published for at least three successive weeks. . . .” 19

U.S.C. § 1607(a).        If the interested party fails to file a

claim within thirty days, the agency seeking forfeiture may

declare the property administratively forfeited. See 19

U.S.C. § 1609 (a) (providing for declaration) and 18 U.S.C.

§ 983(a)(2)(B)(providing claims period).

      18 U.S.C. § 983(e) provides “the exclusive remedy for

seeking to set aside a declaration of forfeiture under a

civil forfeiture statute.” 18 U.S.C. § 983(e)(5).                 Section

983(e) constitutes an express waiver of sovereign immunity

for purposes of notice-based challenges to executed

forfeitures. See United States v. Pickett, No. 07-CR-117,

2012 WL 694712 at *2 (E.D.N.Y. Mar. 1, 2012); McKinney v.

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United States Dept. Of Justice Drug Enforcement Admin., 580

F. Supp 2d 1, 3-4 (D.D.C. 2008) (“[O]nce an administrative

declaration of forfeiture has been issued under the CAFRA,

the United States has unequivocally expressed its consent to

be sued only under §983(e)(1)”).             Therefore, unlike Hill’s

Rule 41(b) motion, the Government’s sovereign immunity

defense does not apply to Hill’s §983(e) motion challenging

notice.5

    Section 983(e) provides as follows:

        any person entitled to written notice in any
        nonjudicial civil forfeiture proceeding under a
        civil forfeiture statute who does not receive such
        notice may file a motion to set aside a
        declaration of forfeiture with respect to that
        person’s interest in the property, which motion
        shall be granted if–
             (A) the Government knew, or reasonably should
        have known, of the moving party’s interest and
        failed to take reasonable steps to provide such
        moving party with notice; and
             (B) the moving party did not know or have
        reason to know of the seizure within sufficient
        time to file a timely claim.


18 U.S.C. § 983 (e)(1)(A)-(B).             If a motion to set aside a



    5
     Section 983(e), however, does not supply jurisdiction
to review the merits of the completed forfeiture or to
address Hill’s argument that the currency was illegally
seized. See United States v. Pickett, No. 07-CR-117, 2011 WL
3876974 at *2 (E.D.N.Y. Sept. 1, 2011) (declining to
consider objections to completed forfeiture alleging lack of
probable cause).

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declaration of forfeiture is granted, the declaration must

be set aside “without prejudice to the right of the

Government to commence a subsequent forfeiture proceeding as

to the interest of the moving party.” 18 U.S.C. § 983(e)(2).

     Due Process under the Constitution also requires that

notice of forfeiture be “reasonably calculated, under all

the circumstances, to apprise interested parties of the

pendency of the action and afford them an opportunity to

present their objections.” Dusenbury v. United States, 534

U.S. 161, 170 (2002); accord Alli-Balogun v. United States,

281 F.3d 362, 369 (2d Cir. 2002).

    The Government argues, based upon the certified mail

return receipt sent to the Tignall, Georgia address, that,

“Hill received notice at his Georgia address, as reflected

by his signature” (Doc. 247 at 5 and Doc. 247-1, Exhibit 4).

However, Hill alleges that his father, Melvin Hill, Sr.

resides at the Georgia address, and it was Hill Sr., not

Hill himself, who signed for the notice (Doc. 248 at 2.)

Notice to the elder Hill does not constitute notice to the

movant Hill without additional facts.

     The notice delivered to the elder Hill, taken together

with the two returned notices mailed the same day do not

necessarily constitute insufficient notice.              Hill alleges

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that the addresses used were “temporary, well over 10 years

old, and were various places the defendant lived during his

service in the United States Army” (Doc. 249 at 2.)

Further, he claims that the hotel in South Burlington, where

one of the notices was sent is “not a permanent address” Id.

    Where “the agency fails to take steps to locate [the

movant] in order to effectuate delivery of the notice,” or

otherwise knows the movant’s location, an undelivered notice

does not satisfy the requirements of § 1607. Torres v.

$36,256.80 U.S. Currency, 25 F.3d 1154, 1161 (2d Cir. 1994).

See also, Taft v. United States, 824 F. Supp. 455, 465

(D.Vt. 1993) (“it must be determined whether DEA know or

should have known” movant did not reside at the address

used). Likewise, the Government cannot rest upon the

publication of notice alone. Robinson v. Hanrahan, 409 U.S.

38, 40 (1972) (“[n]otice by publication is not sufficient

with respect to an individual whose name and address are

known or easily ascertainable.”)

    At present, the Court lacks the information necessary

to evaluate whether the Government failed to take reasonable

steps to provide Hill with notice of the seizure.                The Court

cannot discern from the affidavit provided by Ms. Rashid how

the three addresses the DEA used were selected or whether

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the Government might have used a different address.

Therefore, the Court will hold the matter open.                  The

parties shall submit supplemental briefing, with

accompanying affidavits, on the issue of whether the

Government took reasonable steps to provide Hill with notice

of the seizure and whether the notices sent by DEA were

reasonably calculated under all the circumstances to apprise

Hill of the seizure.

    With respect to the Government’s argument that Hill

should have known of the seizure and cannot satisfy

§983(e)(1)(B), the Court credits Hill’s argument that he

could not have known whether Burlington Police Department or

the federal government ultimately took possession of the

currency (Doc. 249 at 2).        Hill’s argument is supported by

Ms. Rashid’s affidavit, which states that the currency was

seized “by DEA Special Agents and Detectives from the

Burlington Police Department.” (Doc. 247-1 at 2).                 Although

Hill knew the currency was seized, the issue is whether he

knew or should have known of the seizure for purposes of

filing a timely claim.       Without knowing which law

enforcement agency ultimately took possession, Hill could

not have known where to file.           Therefore, Hill’s claim

satisfies the second element of § 983(e).

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II. Motion for Return of Seized Property: May 7, 2012
    Arrest

    On September 12, 2013, Hill moved for the return of the

currency seized on May 7, 2012 (“May 2012 seizure”), plus

interest (Doc. 225.)         The Government does not oppose Hill’s

motion (Docs. 230 and 247 at 2.)            The Government alleges in

its October 2012 response that the Burlington Police

Department is holding the currency (Doc. 230.) Therefore,

Hill’s motion for return of property seized on May 7, 2012

is GRANTED in part and DENIED in part.               The Government shall

make all reasonable efforts to effect the return of all

currency6 seized from Hill’s person incident to the May 7,

2012 arrest.      As for Hill’s claim for prejudgment interest,

even assuming the Government has constructive possession of

the currency, the Government’s sovereign immunity bars the

Court from awarding prejudgment interest.                   See United States

v. Parcel of Property, 337 F.3d 225, 235 (2d Cir. 2003).

Therefore, Hill’s claim for pre-judgment interest is DENIED.

                                 CONCLUSION

    For the reasons set forth above, Hill’s motion for the


    6
     The Government’s Opposition to Hill’s motion regarding
the currency seized on February 13, 2012 suggests that law
enforcement seized $1,572.00, not $1,100, during the May 7,
2012 arrest (Doc. 247 at 2). Regardless of the amount, Hill
is entitled to all currency seized on May 7, 2012.

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return of seized property ($2200) (Docs. 222 and 233) is

DENIED, and the motion for the return of seized property

($1100)(Doc. 225) is GRANTED in part and DENIED in part.

With respect to the motion to set aside a declaration of

forfeiture (Doc. 249), the parties shall file supplemental

briefing with supporting affidavits within thirty (30) days

of the date of this Order.

SO ORDERED.

    Dated at Burlington, in the District of Vermont, this

12th of March, 2014.



                     /s/ William K. Sessions III
                     William K. Sessions III
                     Judge, United States District Court




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